                  IN THE UNITED ST ATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PROFESSIONAL, INC. d/b/a, PROFESSIONALS   )       Case No. 3:17-cv-170
AUTO BODY,                                )
                                          )       JUDGE KIM R. GIBSON
           Plaintiff,                     )
     v.                                   )
                                          )
FIRST CHOICE AUTO INSURANCE COMPANY;      )
21ST CENTURY INSURANCE COMPANY; AAA       )
MID-ATLANTIC INSURANCE; AIG PROPERTY      )
CASUALTY COMPANY; ALLSTATE                )
INSURANCE COMPANY; CINCINNATI             )
INSURANCE COMPANY; DONEGAL MUTUAL         )
INSURANCE COMPANY; ENCOMPASS HOME         )
AND AUTO INSURANCE CO.; ESURANCE          )
INSURANCE COMPANY; FARMERS
INSURANCE EXCHANGE; GEICO INDEMNITY       )
COMPANY; GOODVILLE MUTUAL CASUALTY        )
COMPANY; HARLEYSVILLE INSURANCE           )
COMPANY; HARTFORD CASUALTY                )
INSURANCE COMPANY; HORACE MANN            )
INSURANCE COMPANY; KEMPER FINANCIAL       )
INDEMNITY COMPANY; LIBERTY MUTUAL         )
INSURANCE COMPANY; METROPOLITAN           )
GENERAL INSURANCE COMPANY; MUTUAL         )
BENEFIT INSURANCE COMPANY; NATIONAL       )
GENERAL INSURANCE COMPANY;
NATIONWIDE GENERAL INSURANCE              )
COMPANY; PENN NATIONAL SECURITY           )
INSURANCE CO.; PROGRESSIVE CASUAL TY      )
INSURANCE COMPANY; SAFE AUTO              )
INSURANCE COMPANY; SAFECO INSURANCE       )
COMPANY OF AMERICA; STATE AUTO            )
MUTUAL INSURANCE COMPANY; STATE           )
FARM MUTUAL AUTOMOBILE INSURANCE          )
COMPANY; TRAVELERS PROPERTY               )
CASUALTY INSURANCE COMPANY; USAA          )
CASUAL TY INSURANCE COMP ANY,             )
                                          )
                                          )
                                          )
                                          )
           Defendants.                    )
                                           ORDER

       NOW, this 6th day of October 2017, upon the determination of the United States Judicial

Panel on Multidistrict Litigation that is case is not appropriate for inclusion in multidistrict
litigation, it is HEREBY ORDERED that the stay ordered on September 28, 2017 (ECF No. 49) is

LIFTED.


                                            BY THE COURT:




                                            KIM R. GIBSON
                                            UNITED ST A TES DISTRICT JUDGE
